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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

Antwan Henry                                             §
v.                                                       §                       Civil Action No. H-18-4414
Carrington Mortgage Services, LLC, et al.                §

    DEFENDANTS' RESPONSE TO REQUEST FOR INJUNCTION PENDING APPEAL

           Antwan Henry's years of delay tactics to avoid repaying his debts continues despite another

of his suits being dismissed. This court should deny his request for an injunction pending appeal.

                                 I. BACKGROUND & ALLEGATIONS

A. Mr. Henry has gamed the courts repeatedly to stall creditors.1

           Mr. Henry has used a gamut of bad faith tactics to delay his creditors for the last five years.

          November 26, 2014: Mr. Henry sues in this court with a 300 paragraph complaint closely
           tracking the frivolous allegations in his current suit. The nature of the suit as one designed
           purely to delay foreclosure is clear from his nonsuit shortly after this court denies his
           demand for temporary injunctive relief blocking foreclosure.

          January 6, 2015: Mr. Henry files a frivolous bankruptcy petition the court dismisses within
           sixteen days.

          September 1, 2015: Mr. Henry receives a loan modification curing his defaults to that point
           with a series of benefits including moving much of the debt to noninterest bearing and
           lowering the interest rate.

          August 6, 2018: Mr. Henry files another frivolous bankruptcy petition the court dismisses
           in September 2018.

          October 15, 2018: Mr. Henry files this suit, recycling his allegations from 2014.

At no point has any of Mr. Henry's litigation resulted in any finding in his favor. Mr. Henry now

demands his creditors' rights be further delayed pending appeal. His motion is based on irrelevant

observations, conclusory statements and largely nothing more than the identical allegations the

court considered in rendering final judgment for defendants.


1
    See generally doc. 7 at 1-3 (referencing public record reflecting the loan, lien and frivolous suits).

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                                 II. ARGUMENT & AUTHORITIES

A. The legal standard for this motion.

          The court's judgment dismissing Mr. Henry's claims included refusal of his demand the

court "[e]njoin . . . all Defendants . . . permanently . . ." from acting with respect to the property.

Doc. 1-1 at 43, compl. ¶ 344; see also compl. ¶ 345 ("Enjoin defendant [sic] and those claiming

under defendant [sic] from asserting any estate, title, claim, lien, or interest in the premises"). A

party is generally entitled to an injunction pending appeal from a final judgment refusing an

injunction only when it can show: (1) a substantial likelihood of success on the merits;2 (2) a

substantial threat of irreparable injury if the injunction is not granted; (3) the threatened injury

outweighs the threatened harm to the party whom it seeks to enjoin; and (4) granting the injunction

will not disserve the public interest. See Weingarten Realty Inv'rs v. Miller, 661 F.3d 904, 910 (5th

Cir. 2011). All elements must be applied because Mr. Henry's dispute is "merely a private

contractual matter." Id. If granted, the injunction must be on "terms that secure the opposing

party's rights." FED. R. CIV. P. 62(d). It is not "incumbent upon this Court to . . . assist the Plaintiff

in correcting" his filings. Doc. 29 at 7; SEC v. AMX Int'l, Inc., 7 F.3d 71, 75 (5th Cir. 1993)

(obligation is "construe his allegations and briefs more permissively").

B. The property record reflects a clear chain of authority to foreclose.

          This court found Mr. Henry "failed to plead sufficient facts to state plausible claims for

relief . . . and that Defendants are entitled to judgment as a matter of law." Doc. 25 at 16. The

public record reflects the party enforcing the power of sale is the mortgagee of the security

instrument because it is the last assignee. TEX. PROP. CODE § 51.0001(4)(C); see doc. 7 at 50-51

(assignment of deed of trust to BoNYM); doc. 29-1 (notice of sale identifying the mortgagee as



2
    Mr. Henry wrongly argues he need only demonstrate "a reasonable likelihood" of success. Doc. 29 at 5.

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BoNYM); see also Van Duzer v. U.S. Bank, N.A., 995 F. Supp. 2d 673, 688 (S.D. Tex. 2014)

(courts should view with "suspicion and distrust" allegations facially valid property records are

defective). An officer of the beneficiary of the deed of trust executed the assignment. Doc. 7 at

21 ("MERS is the beneficiary under this Security Instrument."); doc. 7 at 50.

C. Mr. Henry's motion for an injunction pending appeal contains nothing new.

        Despite a clear public record and no plausible allegations calling the mortgagee's or

servicer's authority into question, Mr. Henry demands his creditors be injured with more delay

pending appeal. Mr. Henry still points to utterly irrelevant details that make no difference to the

parties' rights. See, e.g., doc. 29-1 at 2 (referring to holders of a security as "registered holders" or

"certificateholders"), 4 (complaining the notice of sale does not include "website info"), 9 (the lack

of a single comma in an assignment). He objects to details that common sense explains as ordinary.

See e.g., doc. 29-1 at 16 (the new servicer assigned the loan a new loan number when it began

servicing it, obviously in order to avoid confusion of servicing multiple loans with the same

number). He relies on legal theories long discredited by the Fifth Circuit. See, e.g., doc. 29-1 at

9 (challenging MERS's authority to assign instruments in Texas); Khan v. Wells Fargo Bank, N.A.,

No. H-12-1116, 2014 WL 200492, at *9 (S.D. Tex. Jan. 17, 2014) ("Courts in the Fifth Circuit

have repeatedly upheld MERS' assignment of mortgages to other entities."). He makes patently

false assertions. See, e.g., doc. 29-1 at 16 (asserting the loan agreement "is unconscionable"

despite curing his admitted default, moving half the balance to noninterest bearing and

dramatically lowering the interest rate). And he makes bizarrely banal claims such as, "Carrington

is acting like a loan servicer," (doc. 29-1 at 5) which is what loan servicers generally do, and that

nobody but he—the borrower—is "in actual possession" of the property (doc. 29-1 at 18) which is

the generally accepted state of affairs before a foreclosure sale.



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D. There is no substantial likelihood of success on Mr. Henry's appeal.

         Mr. Henry's reliance on the same allegations the court already determined failed to plead a

claim are insufficient to demonstrate a substantial likelihood of success on appeal. Nowhere in

the forty-two pages of his motion and supporting brief does he engage meaningfully with the

deficiencies the court noted in its memorandum opinion and order.

        Mr. Henry fails to demonstrate why his quiet title claim is based on the strength of his own
         title rather than the weakness of defendants' title. See doc. 25 at 8-10.

        He provides nothing to contradict the public records reflecting the trust's existence. See
         doc. 25 at 10.

        His filing lacks any information justifying imposing an accounting. See doc. 25 at 11.

        He does not recite allegations of fact from which to conclude defendants violated the
         FDCPA or that they were acting as debt collectors under the act. See doc. 25 at 12.

        He does not describe any basis from which to conclude he was damaged by any RESPA
         violation or defendants were engaged in a pattern or practice of noncompliance with the
         act. See doc. 25 at 12-16.

        His allegations regarding unconscionability fall far short of justifying equitable relief. See
         doc. 25 at 14.

E. The balance of injuries and public policy militate against granting an injunction.

         Of the remaining three elements of the test for Mr. Henry's injunction the most clear is the

implication for public policy. It would be a bad policy for many reasons to reward this debtor with

yet another judicially-erected barrier to his creditors' rights. The worst implications would be for

the credibility of the judicial process when Mr. Henry already used four separate court proceedings

in as many years as a proxy for repaying his debts even after his creditors made major concessions

to him in modifying the terms of his debt.

         Although real estate can be a basis to claim an irreparable damage it is not always the case.

See, e.g., Hunt Bldg. Co. v. John Hancock Life Ins. Co., No. , 2013 WL 12293486, at * 4 (W.D.

Tex. Aug. 13, 2013) ("Because foreclosure of the property serves to satisfy a monetary judgment,

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the Court does not find that Plaintiffs will be irreparably injured absent a stay.") And Mr. Henry's

observation he remains in possession of the property drives home that he is in a position to damage

or destroy the value of the security upon which the mortgagee relies.

F. Mr. Henry's filings do not include validly sworn testimony.

        Mr. Henry characterizes his motion and supporting brief as constituting sworn testimony.

See, e.g., doc. 29 at 6 ("the Affidvait in Support of Appellant's Emergency Motion for Injunction"),

7 ("I declare under penalty of perjury . . . ."); doc. 29-1 at 1 (entitling the brief "VERIFIED"), 2

("I, Antwan Henry, declare"), 20 ("I declare under penalty of perjury"). His filings do not include

minimum requirements for an affidavit or declaration. There is no indication of his competence

to testify or the basis for his personal knowledge of the statements in the documents. And the few

facts he asserts are not admissible testimony. See, e.g., TIG Ins. v. Sedgwick James, 276 F.3d 754,

759 (5th Cir. 2002) (conclusory allegations, speculation, unsubstantiated assertions and legalistic

argumentation are no substitute for specific facts showing genuine dispute of material fact)

                                         III.CONCLUSION

        The court should deny Mr. Henry's request for injunctive relief pending appeal.

Date: June 28, 2019                             Respectfully submitted,

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                               CERTIFICATE OF CONFERENCE

        I spoke with counsel for Ditech, S. David Smith, on June 28, 2019, and he asked to join
this response on behalf of his client.
                                             s/ Walter McInnis
                                             Walter McInnis



                                  CERTIFICATE OF SERVICE

        I certify I served this on June 28, 2019 as follows:

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